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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 24-60312-CIV-SINGHAL

  DVASH AVIATION HOLDINGS, LLC,

                  Plaintiff,

         v.

  AMP LEASING LIMITED,

             Defendant.
  __________________________________________/

                          ORDER REQUIRING SCHEDULING REPORT

         THIS CAUSE is before the Court upon a sua sponte review of the docket. No later

  than July 30, 2024, the parties are directed to prepare and file a joint scheduling report,

  as required by Local Rule 16.1. 1 The joint scheduling report and proposed order shall

  include all information required by Local Rule 16.1(b)(2) and (3).

         Detailed Discovery Schedule: Local Rule 16.1(a) provides for a differentiated

  case management system based on the complexity of each case and the requirement for

  judicial involvement. That system categorizes cases along three case management

  tracks: expedited, standard, or complex.

              •   Expedited track cases are relatively non-complex, require 1 to 3 days of
                  trial, and between 90 and 179 days for discovery from the date of the
                  scheduling order.
              •   Standard track cases require 3 to 10 days of trial, and between 180 and 269
                  days for discovery from the date of the scheduling order.
              •   Complex track cases are unusually complex, require over 10 days of trial,
                  and between 270 and 365 days for discovery from the date of the
                  scheduling order.
         “The following factors [are] considered in evaluating and assigning cases to a




          1 The parties may “meet in person, by telephone, or by other comparable means.”   Local Rule
  16.1(b)(1).
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  particular track: the complexity of the case, number of parties, number of expert

  witnesses, volume of evidence, problems locating or preserving evidence, time estimated

  by the parties for discovery and time reasonably required for trial, among other factors.”

  S.D. Fla. L.R. 16.1(a)(3).

         Fed. R. Civ. P. 26(b)(1) allows discovery regarding any nonprivileged matter that

  is relevant to any party’s claim or defense and proportional to the needs of the case,

  considering the importance of the issues at stake in the action, the amount in controversy,

  the parties’ relative access to relevant information, the parties’ resources, the importance

  of the discovery in resolving the issues, and whether the burden or expense of the

  proposed discovery outweighs its likely benefit. The parties shall participate in good faith

  in developing a detailed discovery plan, including any agreed-upon limitation on scope,

  frequency and the extent of discovery. The parties shall include in their scheduling report

  any unique discovery matters, including any electronically stored information that should

  be preserved and accessed. The parties shall establish a detailed schedule for the

  preservation, disclosure and access of each different type or category of electronically

  stored information.

         Consistent with the differentiated case management system, other relevant local

  rules (such as Local Rule 16.2, regarding mediation), and the twin goals of expeditious

  and attentive case management, the Court anticipates the following scheduling deadlines

  in the run of cases:

         •   Selection of a mediator and scheduling of a time, date and place for mediation
             within 30 days of the scheduling order.
         •   Deadline to amend pleadings and join parties within 60 days of the scheduling
             order.
         •   Completion of all discovery consistent with the case management track
             guidelines, and 120 days prior to trial.
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         •   Completion of mediation prior to the deadline for dispositive pre-trial motions.
         •   Deadline for dispositive pre-trial motions and Daubert motions (which include
             motions to strike experts) 100 days prior to trial.
         •   Deadline for submission of joint pre-trial stipulation, proposed jury instructions
             and verdict form, or proposed findings of fact and conclusions of law, as
             applicable, 10 days prior to trial.
         Those deadlines are not exhaustive of deadlines which may be set in the

  scheduling order.

         The parties should address their joint scheduling report and their proposed pre-

  trial deadlines both to the differentiated case management system and to the Court’s

  anticipated deadlines. The parties are encouraged to explain their proposed deadlines in

  light of those overarching guidelines, including as to the factors listed in Local Rule

  16.1(a)(3). The parties are cautioned that if they fail to submit a joint scheduling

  report by the applicable deadline, the Court may unilaterally set this case on a case

  management track in accordance with Local Rule 16.1(a) and calculated as if the

  scheduling report had been timely filed. The parties are advised that the failure to

  comply with any of the procedures contained in this Order or the Local Rules may result

  in the imposition of appropriate sanctions, including, but not limited to, the dismissal of

  this action or entry of default.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 11th day of

  July 2024.



  Copies to counsel via CM/ECF




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